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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF LOUISIANA
                         SHREVEPORT DIVISION
 WUELLNER OIL & GAS INC                      CIVIL ACTION NO. 5:10CV1686
 VERSUS                                      JUDGE FOOTE
 ENCANA OIL & GAS (U S A) INC                MAGISTRATE JUDGE HORNSBY


  NOTICE OF CORPORATE DISCLOSURE STATEMENT REQUIREMENT

NOTICE TO FILER:

The Notice of Removal filed on 11/5/2010 by EnCana Oil & Gas (U S A) Inc was the
first appearance by this party. According to Fed.R.Civ.P. 7.1, “the first appearance of
a non-governmental corporate party requires a corporate disclosure statement.”
Additionally, the rule requires that a corporate party “promptly” supplement the
statement upon any change in the information that the party previously provided to the
court.

In accordance with this rule, the United States District Court, Western District of
Louisiana requires that a corporate party who makes a first appearance in a case must
file a corporate disclosure statement either identifying any parent corporation or
corporation holding 10% or more of its stock holdings or file a statement stating there
is no such parent corporation or other corporation holding stock in the corporation.
For pending cases in which a corporate disclosure statement has not previously been
filed by any non-governmental corporate party, the court also requires such a statement
be filed as soon as possible.

A corporate disclosure statement must be electronically filed within 14 days from
the date of this notice or the matter will be referred to the court for further action
to enforce compliance. If you feel this notice has been issued in error or the filer is
not a non-governmental corporate party, please submit a document declaring same.

For questions regarding this document or transmission, please call our CM/ECF help
desk at 1-866-323-1101.
